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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                              )
                                                       )
                v.                                     )
 AHMAD “ANDY” KHAWAJA, et al.,                         )
                                                             Crim No.: 1:19-cr-00374 (RDM)
                                                       )
                Defendant.                             )


 MOTION TO DESIGNATE MATERIAL WITNESS PURSUANT TO 18 U.S.C. § 3144,
     AND FOR DEPOSITION OR, IN THE ALTERNATIVE, DETAINMENT


       Defendant Andy Khawaja (“Mr. Khawaja”), by and through his undersigned counsel,

hereby moves this Court for an order finding that George A. Nader (“Mr. Nader”) is a material

witness under 18 U.S.C. § 3144 (“Section 3144”), and directing: (1) that his deposition be taken

under Federal Rule of Criminal Procedure (“Rule 15”) and/or (2) that Mr. Nader be treated in

accordance with 18 U.S.C. § 3142 (release and detention) (“Section 3142”) pending Mr.

Khawaja’s trial. Mr. Khawaja further moves for an order directing the government to produce

any Nader-related discovery under Federal Rule of Criminal Procedure 16 (“Rule 16”), Brady,

and Giglio in advance of Mr. Nader’s deposition.

                          I.      INTRODUCTION AND ARGUMENT

       Concurrently with this motion, Mr. Khawaja’s counsel has filed an Affidavit to Designate

Material Witness under Section 3144 requesting relief and setting forth the facts and evidence

upon which this Motion is based. See Affidavit of Kenneth B. Julian (“Julian Aff.”). As set

forth below, Mr. Khawaja has met his burden under Section 3144 and Rule 15. Moreover, Mr.

Khawaja should not be barred from relief under the fugitive disentitlement doctrine.

        Section 3144 provides that “[i]f it appears from an affidavit filed by a party that the

testimony of a person is material in a criminal proceeding, and if it is shown that it may become
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impracticable to secure the presence of the person by subpoena, a judicial officer may order the

arrest of the person and treat the person in accordance with the provisions of section 3142 of this

title.” (Emphasis added). Rule 15(a) provides that “[a] party may move that a prospective

witness be deposed in order to preserve testimony for trial. The court may grant the motion

because of exceptional circumstances and in the interest of justice.” (Emphasis added).

       First, Mr. Khawaja is a “party” to this action, as the lead defendant in the Indictment.

Indictment, ¶ 2, Dkt. #1. Second, Mr. Nader is a “material witness” because he is a central figure

in one of two conspiracies charged in the Indictment (e.g., his name appears 97 times in the

Indictment). Julian Aff., ¶¶ 6-13. Many actions and conversations underpinning the Indictment

involve one-on-one chats and two-way conversations between Mr. Nader and Mr. Khawaja, or

Mr. Nader and co-defendant and government witness Rudy Dekermenjian. Id.; Indictment, ¶¶

29(c)-(j), (w)-(x), (aa)-(gg), Dkt. #1. As such, there can be no serious doubt that Mr. Nader is a

material witness under Section 3144.

       Third, “it may become impracticable to secure the presence” of Mr. Nader via subpoena.

18 U.S.C. § 3144; Julian Aff., ¶¶ 3-5, 14-22. Mr. Nader is scheduled to be released from custody

on February 6, 2025. Under the applicable criminal judgments, Mr. Nader is free to self-deport

from the United States; and via self-deportation, Mr. Nader will be able to avoid lifetime

intensive sex offender supervision, to reunite with family and close friends in the Middle East,

and to return to his birthplace. Julian Aff., ¶¶ 3-5,14-22. Equally important, Mr. Nader recently

was granted return of his passport and further has a sixty-day window upon release from BOP

custody to report to this Court. Id., ¶¶ 18-22.

       Mr. Khawaja is concerned that Mr. Nader may use his recently returned passport to self-

deport from the United States within the 60-day window between his release from BOP custody



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and the Re-Entry Hearing ordered before this Court, or even thereafter. Id., ¶ 22. Or, he may

even seek early release based upon a number of serious health conditions.1 It is self-evident that,

if Mr. Nader self-deports or even absconds to the Middle East in violation of this Court’s order,

it will be “impracticable,” if not impossible, to secure his presence at Mr. Khawaja’s trial via

subpoena. Hence, Mr. Khawaja is entitled to relief under Section 3144 and Rule 15.

        A. Arrest and Detention, or Rule 15 Deposition, of Mr. Nader

        Section 3144 authorizes the Court to further detain Mr. Nader or set conditions of release

under Section 3142 or order the deposition of Mr. Nader. 18 U.S.C. § 3144. Specifically,

Section 3144 states: “No material witness may be detained because of inability to comply with

any condition of release if the testimony of such witness can adequately be secured by deposition,

and if further detention is not necessary to prevent a failure of justice.” (Emphasis added);

United States v. Nai, 949 F. Supp. 42, 44 (D. Mass. 1996) (“A material witness may not be

detained, however, if a deposition would suffice as an adequate alternative to the witness’ live

testimony at the proceeding.”).

        Mr. Khawaja submits that, if adequate discovery is provided in advance, and the

deposition is recorded by videotape, it is reasonably possible that Mr. Nader’s testimony could

be adequately secured by deposition in a manner that is an adequate alternative to the witness’s

live testimony at trial. See Nai, 949 F. Supp. at 44. It may even be possible for this deposition to

occur in advance of Mr. Nader’s scheduled release date such that he can timely self-deport

without being detained.




1
  As reported to the Court, Mr. Nader suffers from heart disease, hypertension, and diabetes, and previously
underwent emergency open heart surgery (quadruple bypass). 1:20-cr-00103-RDM, Dkt. #90, Sent. Tr. at p. 73:13-
20.


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       On the other hand, if Mr. Nader refuses to be deposed, or if it is determined that his

deposition would be an inadequate alternative to live testimony, the Court should consider

detention of Mr. Nader under Section 3142. “If a material witness refuses to be deposed and it is

impracticable to secure the appearance of that witness by subpoena, or if deposition testimony

would not serve as an adequate alternative to the witness’s live testimony, then the court must

consider the issue of detention in accordance with 18 U.S.C. § 3142.” Nai, 949 F. Supp. at

44. “Although Rule 15(a) employs the permissive ‘may,’ not the mandatory ‘shall,’ when read

in conjunction with section 3144 it limits discretion to deny motions to depose material witnesses

to instances in which the deposition would not serve as an adequate substitute for the witness’

live testimony and a ‘failure of justice’ would ensue were the witness released.” United States v.

Huang, 827 F. Supp. 945, 948 (S.D.N.Y. 1993).

       Rule 15(a) further provides that “[a] party may move that a prospective witness be

deposed in order to preserve testimony for trial. The court may grant the motion because of

exceptional circumstances and in the interest of justice.” The facts presented in the Julian

Affidavit provide exceptional circumstances, and the interests of justice and the purposes of

Section 3144 would be served if the Court were to order Mr. Nader’s deposition. If ordered, Mr.

Nader’s deposition should take place within the next few weeks or months, so it can be

ascertained whether it is an adequate alternative to Mr. Nader’s live appearance.

       B. The Court Should Order Limited Advance Discovery

       Based upon the defense investigation, counsel for Mr. Khawaja anticipates that Mr.

Nader will be the source of substantial exculpatory evidence and information. Additionally, Mr.

Khawaja will likely request that Mr. Nader’s phones be searched for custodians and exculpatory

communications in support of Mr. Khawaja’s defenses that may not have been covered or



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anticipated in prior government searches of those devices. Mr. Nader’s counsel reports that the

government investigation involved searches of “six different phones.” Julian Aff., ¶ 24.

       In order to take an effective deposition, especially one intended to substitute at trial for

Mr. Nader’s live testimony, counsel for Mr. Khawaja will need to receive and review any

discovery called for under Rule 16, Brady, and Giglio, as it pertains to the Nader-related portions

of the Indictment. Julian Aff., ¶¶ 23-25. That discovery is believed to be voluminous and may

involve sensitive information, given Mr. Nader’s publicly known cooperation with the special

counsel’s office, which investigated topics touching upon the 2016 election. Id. Mr. Khawaja

respectfully submits that it may be in the interest of the Court and the affected parties to resolve

these issues in advance of Mr. Nader’s release date.

       C. Request for Status Conference

       Concurrently with this Motion and the Julian Affidavit, Mr. Khawaja has filed a Request

for Status Conference. Mr. Khawaja is currently released on conditions in Lithuania, including a

$750,000 cash bond. Julian Aff., ¶ 26. From approximately September 2020 through October

2023, Mr. Khawaja was required to wear an ankle monitor. Id., ¶ 27. In October 2023, because

of his three-year record of compliance, Mr. Khawaja’s GPS ankle monitor was removed. Id.

Since that time, Mr. Khawaja has been free to travel anywhere within Lithuania and is required

only to check-in thrice weekly with local police. Id., ¶ 28. There is currently no date set for Mr.

Khawaja’s return to the United States. Id., ¶ 29.

       Under Rule 15(c) and the Confrontation Clause, Mr. Khawaja has a right to be present at

Mr. Nader’s deposition. Fed. R. Crim. Pro. 15(c)(2) (“A defendant who is not in custody has the

right upon request to be present at the deposition, subject to any conditions imposed by the




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court”) (emphasis added). To facilitate this, Mr. Khawaja would be willing to appear before the

Court from Lithuania via Zoom, if necessary.

       D. Mr. Khawaja Should Not Be Barred from Bringing the Present Motion

       Mr. Khawaja anticipates that the government may seek to invoke the fugitive

disentitlement doctrine; however, those efforts would not be well-taken. Mr. Khawaja is no

stranger to these proceedings. In July 2021, when asked, Mr. Khawaja cooperated with the

Court and the government to review thousands of pages of discovery so that the trial against

other defendants could timely proceed. See 1:20-mc-00117-RDM (under seal). In February

2022, counsel for Mr. Khawaja attended the entire two-week trial of co-defendants Mohammad

“Moe” Diab and Rani El-Saadi.

       If the government raises the fugitive disentitlement doctrine, the Court should hold an

evidentiary hearing to determine whether Mr. Khawaja is, or ever truly was, a fugitive. In

particular, for the past 3.5 years, since approximately early September 2020, Mr. Khawaja has

been under arrest in Lithuania pursuant to the pending extradition proceedings. Certainly, Mr.

Khawaja cannot be considered a fugitive for this 3.5-year period of time in the constructive

custody of the United States. This is especially so because, as the government can attest, for the

past three years, Mr. Khawaja repeatedly has sought to negotiate a joint bail recommendation

with the government to facilitate his return to the United States.

       Likewise, Mr. Khawaja’s status as a “fugitive”—for the time period from December

2019, when he first learned of the Indictment, through his arrest in Lithuania in early September

2020—is far from clear. For the majority of this eight-month period, COVID restrictions made

Mr. Khawaja’s travel back to the United States highly inadvisable and, at times, practically

impossible. In particular, in early December 2019, when Mr. Khawaja learned of the Indictment,



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he was on a business trip to Japan, Singapore, and ultimately Doha, Qatar. Mr. Khawaja then

traveled to Lebanon to spend time with his family, including his ailing father. While there, the

COVID pandemic started, after which air travel was highly discouraged, if not regarded as

dangerous. In March 2020,2 Lebanon shut down Rafic Hariri International Airport in Beirut and

it remained closed until July 2020.3 After the airport reopened, in early August 2020, Mr.

Khawaja traveled from Beirut, Lebanon to Vilnius, Lithuania to visit his wife’s family. Mr.

Khawaja was arrested while in Lithuania.

          “Application of the fugitive disentitlement doctrine requires a two-step analysis. First,

the Court must determine that the defendant is a fugitive under one of the two exclusive common

law meanings of the term: the traditional fugitive, or the constructive-flight fugitive. Second, the

Court must determine whether disentitling the defendant would ‘serve the doctrine’s

objectives.’” United States v. Cornelson, 595 F. Supp. 3d 265, 270 (S.D.N.Y., 2022).

          A “traditional fugitive,” is “a person who, having committed a crime, flees from the

jurisdiction of the court where a crime was committed or departs from his usual place of abode

and conceals himself within the district.” Id., at 270. A “constructive-flight fugitive” is “a

person who allegedly committed crimes while in the United States but who was outside the

country – for whatever reason – when [he] learned that [his] arrest was sought and who then

refused to return to the United States in order to avoid prosecution.” Id. at 20-71 (emphasis

added).

          Mr. Khawaja meets neither definition of a fugitive. Mr. Khawaja did not flee the country

after committing a crime, or to avoid prosecution. When indicted, Mr. Khawaja was already


2
  Azhari, Timour, “Lebanon will shut airport, restrict movement over coronavirus,” AL JAZEERA (March 16, 2020)
https://www.aljazeera.com/news/2020/3/16/lebanon-will-shut-airport-restrict-movement-over-coronavirus.
3
  Knecht, Eric, “Lebanon to re-open Beirut international airport from July 1: statement,” REUTERS (June 12, 2020)
https://www.reuters.com/article/idUSKBN23J2T4/.

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living and travelling abroad, in substantial part for business. The government chose to unveil the

Indictment when Mr. Khawaja was out of the country. Setting aside delays attributable to the

COVID pandemic, it cannot reasonably be maintained that spending time with family, including

Mr. Khawaja’s elderly and infirm father—before returning to the United States to face serious

charges—was an act of flight from prosecution. Nor did it amount to a refusal to return to the

United States, as Mr. Khawaja’s attorneys were in continuous contact with the government and,

at no point, did Mr. Khawaja “hide his whereabouts from United States authorities.” United

States v. Hayes, 99 F. Supp. 3d 409, 416 (S.D.N.Y.), aff’d on other grounds, 118 F. Supp. 3d 620

(S.D.N.Y. 2015).

       Second, application of the fugitive disentitlement doctrine would not “‘serve the

doctrine’s objectives.’” Cornelson, 595 F. Supp. 3d at 270. The aims of the doctrine’s

application are: “(1) ‘assuring the enforceability of any decision that may be rendered against the

fugitive’; (2) ‘imposing a penalty for flouting the judicial process’; (3) ‘discouraging flights from

justice and promoting the efficient operation of the courts’; and (4) ‘avoiding prejudice to the

other side caused by the defendant’s escape.’” Id. at 272 (citations omitted). None is achieved

here by application of the doctrine.

       As noted, Mr. Khawaja has been actively involved in this case and in regular contact with

the government. Mr. Khawaja has also followed the directives of the authorities in Lithuania—

so much so that he no longer is required to wear an ankle monitor or remain within Vilnius. Mr.

Khawaja cooperated with the Court’s orders and with respect to the criminal discovery process

affecting co-defendants, and his counsel attended the jury trial of co-defendants. Thus, there are

no grounds to find that Mr. Khawaja would not abide by decisions of this Court. For reasons

already discussed, there is also no need to impose a penalty.



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       Mr. Khawaja wishes to bring this case to conclusion so he may be reunited with his

family. Finally, there is no prejudice to the government in granting the relief sought here

because Mr. Nader is unquestionably an important witness for the government just as much as he

is for Mr. Khawaja.

                                       II.    CONCLUSION

       For all of the foregoing reasons, Mr. Khawaja respectfully requests that the Court issue

an order finding that Mr. Nader is a material witness under Section 3144 and directing: (1) that

his deposition be taken under Rule 15 and/or (2) that he be treated in accordance with Section

3142 pending Mr. Khawaja’s trial. Mr. Khawaja further requests an order directing the

government to produce any Nader-related discovery under Rule 16, Brady, and Giglio in

advance of Mr. Nader’s deposition.

 Dated: May 29, 2024                                 Respectfully submitted,

                                                     /s/ Kenneth B. Julian
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                                                     David Boyadzhyan, DC Bar #CA00115
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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                            )
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                 v.                                  )
 AHMAD “ANDY” KHAWAJA, et al.,                       )
                                                            Crim No.: 1:19-cr-00374 (RDM)
                                                     )
                 Defendant.                          )


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the attorneys of record.


 Dated: May 29, 2024                               Respectfully submitted,

                                                   /s/ Kenneth B. Julian
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